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EXHIBIT 1

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Michael C. Manning (#01625 5)

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Attorneys for Plaintiffs

SUPERIOR COURT OF ARIZONA

MARICOPA COUNT - ,»
%vauiz 010047
ERN.E`.ST JOSEPH ATENCIO, surviving NO.
father of Ernest M Atencio, individually
and on behalf of the ollowing statutory PLA]NTIFFS’ COMI’LAINT AN_D
beneficiaries of Ernest Marty Atencio: DEMAN`D FOR JURY TRIAL

Rosarnary Atcncio, surviving mother of
Ernest Mar£y Atencio; Joshua Atencio,
surviving son of Emest Marty Atencio;
Joseph Atencin, surviving son of Ernest
Marty Atcncio; M.A., a minor and surviving
son of Ernest Marty Atencio; and MICHAEL
ATENCIO, Personal R.epresentative of the
Estate of Ernest Marty Atencio; and
ROSEMARY ATENCIO, individuall ;
JOSHUA ATENCIO, individually; J SEPH
ATENCIO, individually and

M.A., through his Next Friend, Eric Atencio,

Plaintiffs,
v.

SHERIFF JOSEPH ARPAIO and AVA
ARPAIO, husband and wife; MAR_ICOPA
COUNYY, a public entity; JA`L`ME
CARRASCO and JANE DOE CARRASCO,
husband and wife; ADRIAN DOMINGUEZ
and JANE DOE DOMINGUEZ, husband and
wife; CHRISTOPHER FOS'I`ER and JANE
DOE FOS'I:ER, husband and Wif€:;
ANTHONY HATTON and JANB DOE
HA"ITON, husband and Wife; CRAIG
KAISER and JANE DOE KAISBR, husband
and wife; ANTHONY SCHEFFNER and
JANE DOE SCI-IEFFNER, husband and wife;
JOSE VAZQUEZ and JANE DOE
VAZQUEZ, husband and wife; JASON
WEIHRS and IANE DOE WEIERS, husband

 

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and wife; lAN CRANMER and .TANE DOE
CRANMER, husband and Wil`e; W]LLIAM
MCLEAN and JANE DOE MCLEAN,
husband and Wii`e; MONICA SCARPATI and
JOHN DOE SCARPATI, wife and husband;
CITY OF PHOENIX, a public entity;
PATR_'[CK HA.NLON and JANE DOE
HANLON, husband and Wife; NICHOLAS
FRENCH and JANE DOE FRENCH,
husband and wife.

Defendants.

 

 

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Plaintiffs, for their Complaint against Defendants, allege as follows:
JURISDICTION AND VENU'E_)

l. Plaintiffs bring this action, pursuant to 42 U.S.C. § 1983, for violations of the
Fourth and Fourteenth Arnendrnents of the United States Constitution, and pendent state
common and statutory laws including A.R.S. § 12-611, et seq.

2. Jurisdiction and venue are proper in this Court pursuant to A.R.S. §§ 12~123 and
12-401, as the majority of parties are residents of Maricopa County, Arizona, and the events
underlying this lawsuit occurred in Maricopa County.

MILTI_E_S

3. Plaintii`fs incorporate the allegations in the paragraphs above as if set forth hilly
herein.

4. For all material times, Ernest Joseph Atencio (“Joe”) was an individual residing
in Maricopa County, Arizona.

5. Joe survives his son, Ernest Marty Atencio (“Marty”), Who also was an
individual residing in Maricopa County, Arizona, at all times relevant to this Complaint.

6. Rosernary Atencio is Marty’s mother and, for all material ti.rnes, was an
individual residing in Maricopa County, Arizona.

7. Joshua Atencio is Marty’s son and, for all material times, xvas an individual

residing in Sherburne County, Minnesota.

 

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S. Joseph Atencio is Marty’s son and, for all material times, was an individual
residing in Sherburne County, Minnesota.

9. M.A. is a minor and Marty’s son. For all material times, M.A. was an individual
residing in Maricopa County, Arizona. This action is brought on his behalf by Eric Atencio,
M.A. ’s Next Friend.

lO. Michael Atencio is the Personal Representative of the Estate of Ernest Marty
Atencio.

ll. Defendants Joseph Arpaio (“Sheriff Arpaio”) and Ava Arpaio are a married
couple residing in Maricopa County, Arizona. All of Sheriff Arpaio’s alleged acts were done
for the benefit and furtherance of the Arpaios’ marital community

12. At all material times, Sheriff Arpaio Was the duly-elected Sherili` of Maricopa
County, acting under color of law, and in charge of the Maricopa County Sherift`s Ofiice
(“MCSO”). Sheriff Arpaic is named in both his official capacity, for purposes of Plaintiffs’
state law vicarious liability and federal municipal liability claims, and in his individual
capacity, for purposes ofPlaintiffs’ claims against him individually under 42 U.S.C. § 1983.

13. Defendant Maricopa County (the “County”) is a public entity, formed and
designated as such pursuant to Title ll of the Arizona Revised Statutes and, as permitted by
state and federal law, may be held independently or vicariously liable, or otherwise
responsible, for the wrongful conduct of its divisions, agents, officers, and employees

14. Defendants Jaime Carrasco (“Carrasco”), Adrian Dominguez (“Dominguez”),
Christopher Foster (“Foster”), Anthony l-Iatton (“Hatton"), Craig Kaiser (“Kaiser”), Anthony
Scheffner (“Scheffner”), lose Vazquez (“Vazquez”), Jason Weiers (“Weiers”), lan Cranmer
(“C.ranmer”), William McLean (“Mcl,ean”), and Monica Scarpati (“Scarpati”) were agents and
employees of Maricopa County who, at the time of the events complained of herein, were
acting within the course and scope of their employment and under color of law.

15. Defendant City of Phoenix “the City”) is a public municipal corporation formed
and designated as such pursuant to Title 9 of the Arizona Revised Statutes is a public entity

and, as permitted by state and federal law, may be held independently or vicariously liable, or

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s 1a Pursuam m A.R.s. §§ 11441(A)(5) and 31-101, sheriff Arpaio's duty is to ake

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otherwise responsible, for the wrongful conduct of its divisions, agents, officers, and
employeesl

16. Defendants Patricl< I-Ianlon (“Hanlon”) and Nicholas French (“French”) were
agents and employees of the City of Phoenix who, at the time of the events complained oil
herein, was acting within the course and scope of their employment and under color of law.

1'7. All of the individually named defendants’ acts and omissions were done for the
benefit and furtherance of their marital community Except where specifically alleged,
Plaintiffs are unaware of the true names of the individually named defendants’ spouses and
have designated them as lane and John Does in the caption of this matter. The true names of

1 these defendants will be substituted upon discovery of the same.

FACTUAL ALLEGATIONS RELEVANT TO ALL C()UNTS
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charge of and keep the County jail and the inmates in the County jail.

19. Sheriff Arpaio is a final policymaker for Maricopa County and, therefore,
Maricopa County is liable, under 42 U.S.C. § 1933, for Sheriff Arpaio’s unconstitutional
policies, procedures, and/or customs.

20. Notwithstanding Sheriff Arpaio’s constitutional duties, Maricopa County assists
Sheriff Arpaio’s responsibility to provide adequate medical care for the inmates of the
Maricopa County jail through a division of the County known as Correctional Health Services
(“CHS”).

Inhumane and Unccpstitutional Health Conditions

21. Prior to December 15, 2011` both Ma.ricopa County and Sherit`f Arpaio were

 

§aware of a long history of deliberate indifference to the provision of medical -eare to those in

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ithe County’s jails and “long-overdue, constitutionally required corrections that needed to be
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made as quickly as possible.” This allegation is supported by the following facts:
a. ln 1977, a class action (Hart v. Hz'll) was brought against Maricopa

County in a matter now captioned Graves v. Arpaio, et al., related to unconstitutional

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conditions in the Maricopa County jails. An Amendcd Judgment was filed in that case on
January 10, 1995, which states that “Def`endants shall provide a screening of each pretrial
detainee prior to placement of any pretrial detainee in the general population The screening
will be sufficient to identify and begin necessary segregation, and treatment of those with
mental or physical illness. . . . All pretrial detainees confined iii the jails shall have access to
medical services and facilities which conform to the standards designated as °essential’ by the
National Commission on Coirectional~Health Care (‘NCCHC’) Srandara's for Healrh Services
as amended from time to time. When necessary, pretrial detainees confined in jail facilities
which lack such services shall be transferred to another jail or other location where such
services or health care facilities can be provided or shall otherwise be provided with
appropriate alternative on-site medical services . . . Defendants shall'provide emergency
transportation services to an appropriate hospital or medical facility, without unreasonable
delay, when needed.” Notwithstanding this order, Defendants’ deliberate indifference to the
medical needs of its prisoners continued

b. On March 25, .1996, the United States Department of lustice (“DO]”]
sent a letter to Maricopa County Board of Supervisor Chairman Ed King and-Sheriff Arpaio
documenting its findings from an investigation that began on August S, 1995. That
investigation concluded that there is “insufficient access to medical care” in the Maricopa
Countyjails. The DOJ specifically found that there is “[i]nadequate medical screening in
[i]ntake. Identifying serious medical and psychiatric problems is a vital component of the
process of admitting a new prisoner into the jails. '1`hat process, however, is seriously
deficient.” The DOJ’s findings also include the determination that “mental health services at
the jails suffer from a lack of quality control” and medical providers at the jails lack of access
to inmates’ medical records.

c. Following the DOJ’s letter and investigation, the DOJ filed an action
against Maricopa County captioned Uiiii‘ed Stai‘es of/imeri'ca v_ County ofMaricopa_. er al.,
CV`99~213'7-P1'D{-SLV. A Settlement Agreement in that matter was executed by both Slierif`f

Arpaio and the then-Chairman of the Maricopa County Board of Supervisors. That agreement

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1 was commenced on August 8, 1995, under the Civil Rights of Institutionalized Perscns Ac .”

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states its intention to “resolve the United States’ allegations of constitutionally inadequate
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medical care for inmates at the Maricopa County Jails" identified by the “investigation [that]‘i

d. On October 22, 2008, the Court in Graves entered its Findings of Fact and
Conclusions of Law and Order. Those Findings of Facts and Conclusions of Law related to
conditions existing iii the jails as ofMay 31, 2008. The Court found that “[i]t is estimated that
twenty percent of the pretrial detainees housed in the Maricopa County Jails are seriously
mentally ill. . . . Oiien people with serious mental illness, who are untreated or undertreated,
commit minor crimes and end up in the Maricopa County Jails. . . . Although many pretrial
detaiiiees’ medical and mental health care needs could be addressed more effectively and
efficiently through public services outside of criminal justice .institutions, they frequently are
not, and the responsibility for doing so falls upon the Maricopa County Jails.” The Court
further found that, “thc intake screening [at the jails] often does not capture basic and
necessary information from detainees, including an adequate history from those suffering from
chronic diseases." The Court further found and ordered, “many pretrial detainees with serious
mental illness are not identihed and assessed by a mental health clinician during the intake
process. Pretrial detainees are to be provided immediate care, if needed, at the time of
screening If appropriatc, pretrial detainees are to be transported to the hospital for further
analysis and care not available on-site either to be returned later for booking or booked in
Ward 41 at the Maricopa Medical Center.” The Court further found that “systemic
deficiencies in the screening process” exist and, as a result, there “are continuing and ongoing
violations of pretrial detainees’ constitutional rights” and “pretrial detainees frequently are
denied access to adequate medical, mental health, and dental care because they do not receive a
timely in-person assessment of the urgency of their need for treatment.”

e. On October 22, 2008, the Court in Graves also filed its Second Amended
Judgmcnt which restated that “Defendants shall provide a receiving screening of each pretrial
detainee, prior to placement of any pretrial detainee iii the general population 'l`he screening

will be sufficient to identify and begin necessary segregation, and treatment of those with

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mental or physical illness and injury; to provide necessary medication without interruption . . .
All pretrial detainees confined in the jails shall have ready access to care to meet their serious
medical and mental health needs. When necessary, pretrial detainees confined in jail facilities
which lack such services shall be transferred to another jail or other location where such
services or health care facilities can be provided or shall otherwise be provided with

appropriate alternative on-site medical services.”

 

f. On lanuary 28, 2009, the Court in Graves ordered “tbat medical expert

Dr. Lambert King and mental health expert Dr. Kathryn Burns are appointed to serve asi
independent evaluators of the Defendants’ compliance with the medical and mental health
provisions of the Second Amended Judgment and to be compensated by Defendants for their|
services.” 5

g. On April 7, 2010, the Court iii Graves held that, “[a]s ofMarch 1, 2010-_
sixteen months after the Second Amended Judgment was entered_significant areas of failure
to comply with the Second Amended Judgment’s medical and mental health requirements
remain. Although progress has been made, it appears as though most of the improvements
made regarding medical and mental health services have been those imposing little or no
additional cost on Defendants. Iiiiprovements appearing to be most critically needed, e.g.,
developing and implementing electronic medical records and medication management tools,
increasing staffmg, providing space for confidential mental health h'eatment, appear to have
been disregarded or postponed to avoid expense . . . Previous orders and numerous court
proceedings in this matter have emphasized Congress’s intent that constitutional violations
regarding conditions of confinement be corrected expeditiously and judicial oversight
terminated as swiftly as possible. The Court has repeatedly informed the parties of the
importance of implementing long-overduc, constitutionally required corrections as quickly as
possiblc, both for the benefit of the Plaintiff class and to avoid expenses incurred by

unnecessary delay. Because correction of constitutional violations has not proceeded

expeditiously to date, the parties and counsel will be ordered to meet and confer to develop a

 

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proposed procedure for achieving and demonstrating Defendants’ complete compliance with

the Second Amended Judgment.”

Culture of Crueltv and Excessive Force

 

22. In addition to having a history of deliberate indifference to the unconstitutional
and inadequate medical care in the County’s jails, the County has turned a blind eye towards
the culture of cruelty and punishment Sheriff Arpaiol has created iii the County’s jails. This
allegation is supported by the following facts:

a. Shortly after he was elected Sheriff, Arpaio announced to his entire staff
that he wanted his jails to be “bad” jails and “places of punishment."

b. - Sheriff Arpaio has publically stated, “I beheve it [iail] should be
punishmeiit, pcriod.” .Sheriff Arpaio has also said, “[i]f it sounds harsh, that’s all right,
because jail is a harsh place. .Tail is not a reward or an achievement, it is punishrnen .” Witb
respect to his promise to make “jails places of punishmen ,” Sheriff Arpaio has publically
stated, “I did what 1 said I’d do.”

c. Regarding the culture he has created for inmates, Sheriff Arpaio has
publically stated, “[t]he theme, ‘Jail is an awful place, and I’m never coming back.’ . . . 'Iliose
words were music to my ears. 1 wanted the inmates to hate my jail. 1 wanted them to hate
everything about it, from the heat to the food to the work to the drudgery. 1 wanted them to
remember for the rest of their days that this was a terrible experience . .” Sheriff Arpaio has
further said, “[t]oday, maybe the Maricopa County jails have become the Alcatraz of Ai'izona.
That might not be such a bad thing.”

23. Prior to December 15, 2011, both Maricopa County and Sherilf Arpaio were
aware of a long history of the gratuitous and inhumane use of excessive force and physical
abuses that routinely occurred in the Maricopa County Jails. This allegation is supported by
the following facts:

a. On March 25, 1996, DOJ sent a letter to Maricopa County Roard of
Supervisor Chairman Ed King and Sheriff Arpaio documenting its findings from an

investigation that began on Augus`t 8, 1995. That investigation concluded that
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“unconstitutional conditions exist at the Jails with respect to [ ] the use of excessive force
against inmates.” 'l`he DOJ further found that “the use of excessive force by Detention
Ofticers has been especially and unacceptably prevalent at . . . [i]ntake [and] . . . some Jail staff
apply force to prisoners without any initial justification Exarnples include using force against
prisoners in lntake to hasten movement of prisoners when those prisoners were neither
combative nor resistant; use of a stun gun against a prisoner simply to see its effect; and use of
force to send a message (for example, to stop acting up verbally), rather than for control, self~
defense, or any other legitimate reason.”

b. Following the DOJ’s letter and investigation, the DOJ filed an action
against Maricopa County captioned United States ofAmerz‘ca v. County ofMan`c:opa, et al.,
CV97-2273-P1~lX-RGS alleging that “[j]ail inmates are subject to use of excessive force [and]
. . . Defendants have been consciously aware of, but deliberately indifferent to [tbis fact] for a
substantial period of tirne.” A Settlement Agrcement in that matter was executed by both
Sherit`f Arpaio and the then-Chairman of the Maricopa County Board of Supervisors. That
agreement states its intention to “resolve the United States’ investigation of allegations of use
of excessive force against inmates at the Maricopa County Jails" identified by the
“investigation [that] was commenced on August 8, 1995, under the Civil Rights of
lnstitutionalized Perscns Ac .”

24. Most of the Sheriff’s inmates are pretrial detainees

25. 'lhe Sheriff and County knew that under the United States Constitution it is
illegal to “punish” pretrial detainees

26. The Court in Graves held that “[s]ome pretrial detainees have been punished for
behavior related to serious mental illness.”

27. Such punishment otten comes in the form ot` Detention Otiicers’ ("D.O.s")
excessive use of force against those in the jail. -Examples ot` the deaths resulting from this
treatment include those of: Scott Norberg, Charles Agster, 111, Brian Crenshaw, and Clint
Yarbrough.

 

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DECEIV.[BER 15, 2011

28. Marty Atencio was another pretrial detainee who died as a result of the
conditions and culture created by SheriffArpaio and Maricopa County.

29. On December 15, 2011, City of Phoenix Police OHicers made their first contact
with Marty at a 7-Eleven.

30. Phoenix Ofticers observed Marty acting erratically, but concluded that the cause
of his strange behavior was mental illness, as opposed to the use of drugs or alcohol, because
the Officers observed that: Marty’s eyes appeared normal, he was not sweating profusely, he
was not twitching, his speech was normal, his complexion appeared normal, he was able to
walk without any trouble, he was alert and would respond to questions, but he would easily
become distracted and would speak of random odd things

31. Marty showed no signs of being a danger to himself or others, he simply
appeared to be not medicated

32. Marty had not committed any crime and was instructed to return homc.

33. A short time later, Phoenix Police Officers were called to the apartment complex
where Marty lived in response to a disturbance

34. Two Phoenix Police Oflicers made contact with a woman who reported that

Marty was kicking an apartment door and then approached her.

35. Although Marty did not threaten or make physical contact with the woman, she

reported that he scared her because Marty came into very close proximity to her.
36. The Offrcers arrested Marty.
37. Marty was transported to City’s Southern Cornrnand Station, also known as

“Central Booking,” where he was searched by Phoem`x Police Ofticers.

38. While at Central Booking, Phoenix Officers performed a search of Marty,

without the need to use any unusual force, which included him taking off his shoes.

39. Phoenix Police then transported Marty to MCSO’s Fourth Avenue Jail, where

Ot`ticer Hanlon was processing detainees brought in by other Phoenix Oflicers.

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40. Officer Hanlon’s tirst contact with Marty was in an area where detainees are kept
while they wait to go through the medical screening process At that time, Ofticer Hanlon

knew of Marty’s mental illness

COUNT ONE
(Defendants Scarpati and McLean Violated Marty’s Rights
Under the Fourteenth Amendment and 42 U.S.C. § 1983)
41. Plaintiffs incorporate the allegations in the paragraphs above as if set forth fully
herein.
42. Upon entering the jail, Marty was assessed by CHS employees Monica Scarpati,
and Nurse Bill'McLean.

43. Defendants Scarpati and McLearr had a constitutional, statutory, and common
law duty to assure the safety and well-being of Marty while in their care and custody-a duty
that includes (without limitation) providing proper, appropriate, and timely care, and
monitoring Marty.

44. Ms. Scarpati knew, or should have known, that Marty suffered nom mental
illness based on her previous contact with him when she recognized the need for him to receive
psychological treatment at that time. _

45. Notwithstanding Ms. Searpati’s previous interactions with Marty, she recognized
that he appeared psychotic, based on his “word salad,” when Marty presented to her on
December 15, 2011.

46. Rather than get Marty to the treatment lie obviously needed as a result of a
serious medical condition, Ms. Scarpati and Nurse McLean admitted Marty into the jail and
sent him to an isolation cell. The fact that Marty did not receive immediate medical treatment,
in combination with the acts of violence committed on him as set forth below, was the
proximate cause of Marty's death.

47. The wrongful conduct of Defendants Scarpati and McLean constitutes violations
of 42 U.S.C. § 1983 in that, with deliberate and callous indifference, they deprived Marty of
his liourtecnth Amendment Rights under the United States Constitution by denying Marty

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proper medical treatment while under the care of these Defendants and the Estate of Emest

Marty Atencio has suffered damages

COUNT TWO

(Defendants Scarpati and McLean Are Liable for the Wrongful Death
of Marty Pursuant to A.R.S. § 12-611)

48. Plaintiffs re-allege and incorporate, by this reference, the clairns, facts, and
allegations set forth in the paragraphs above, as if set forth fully herein.

49. These Defendants breached their duties to Marty, as identified by the claims,
facrs, and allegations set forth in the paragraphs above.

50. As the result of these Defendants’ negligence, Marty’s survivors have been
deprived of the continued companionship and society of their son and father, and have suffered
and will continue to suffer in the future a loss of love, affection, companionship, care,
protection, guidance, as well as p`ain, gricf, sorrow, anguish, stress, shock, and mental

suffering, and have suffered damages in an amount to be proven at trial.

COUNT THREE
(Defendants Hanlon, French, Carrasco, Dominguez, Foster, Hatton, Kaiser, Schefl`ner,
Vazquez, and Weiers Violated Marty’s Rights Under the Fourth and Fourteentli

Amendments to be Free Frorn the Unreasonable Use of Force and Punislinient and
are Liable Pursuant 42 U.S.C. § 1983)

51. Plaintiffs incorporate the allegations in the paragraphs above as ~if set forth fully
herein.

52. After going through the medical screening, Marty was taken to have his rnug shot
taken While Marty was having his mug shot taken, the D.O.s were taunting him, asking him
to “clown” for them, telling him to “turn left,” “turn right,” and making fun of Marty’s
inability to follow instructions As the guards made fun of Marty, they told him to make funny
faces and the photographer, and a female Detention Officer, kept saying “let’s make this one
the Mug Shot of the week.” A.tter they took a particularly humiliating mug shot, the D.O.s had
finished their fun with Marty and took him back to the holding tank.

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! 53. Then, Ofticcr Hanlon escorted Marty to a room identified by MCSO video
§ recordings as the Linescan Room.

54. The manner in which Officer Hanlon handled Marty, by leading him with his
hands and arms bent in a position which caused Marty pain, constituted an excessive use of
force.

5 5. While Officer Hanlon was escorting Marty to the Linescan Room, Marty said
“you’re making Tony angry, you’re making Tony angry.” Marty was telling Officer Harilon
that the officer was hurting him.

56. While in the Linescan Room, Officers Hanlon and French took Marty’s
fingerprints They then backed Marty into a corner. But, they were sure enough that Marty
posed no danger of danger to them that they removed his handcuffs

5 7. Despite not making sense, Marty was not threatening, resistive, nor combati`ve.

58. When asked to take off his shoes, which were to be put through a scanner with
his clothes, Marty removed his right shoe pursuant to the Officers’ instructions

59. But, when asked to remove his left shoe, Marty refused to do so.

60. 1n response to Marty’s refusal to take his left shoe off, Officers Hanlon and
French immediately began a physical struggle with Marty.

61. The force used by Ofticers Hanlon and French was gratuitous and unreasonable
That unprovoked assault on Marty would lead to a Jailer’s R.iot which would soon cause
Marty’s death.

62.` MCSO agents quickly joined the Iailers’ Riot; D.O.s Carrasco, Dominguez,
Foster, Vazquez, and Lt. Kaiser used excessive force by forming a “dog pile” on top of Marty.

63. At or about that time, Sgt. Weiers used excessive force on Marty by tasing him,
multiple times, including, at least one time, in a_ manner close to Marty’s heart. Sgt. Weiers
knew, or should have known, that using a taser in this fashion posed an unreasonable risk of
harm.

64. After Sgt. Weiers tased Marty, D.O. Hatton used excessive force on Marty by

striking Marty in the face, with a closed fist, multiple times

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65. While he was being tased, punched, and manhandled, Marty cried out in pain.

66. Detention Officers then placed handcuffs on Marty.

67. Sgt. Scheffrier observed the unreasonable use of force against Marty, as well as
the events set forth iri the following paragraphs and failed to intervene

68. Sgt. Scheffner ordered Marty to be placed in MCSO’s “safe” cell.

69. Following Sgt. Scheffner‘s orders, D.O.s carried Marty into a room called Safe
Cell 4.

70. While Sgts. Scheffncr and Weiers looked on, D.O.s Foster, Carrasco, Vazquez,
Hatton, and Dorninguez held Marty down, with Marty unable to move, and D.O. Hatton stuck
Marty several more times, in this instance with his knee, while Marty laid on the floor
unconscious and lifeless.

71. One D.O. yelled out D.O. Hatton’s name with a tone and stemness that made it
clear to D.O. Hatton to stop using excessive, gratuitous and unreasonable force

72. After this event, the jail’s surveillance video outside “Safe‘ Cell 4” shows D.O.
Hatton, with a smile on his face, talking to other Officers, while two MCSO women danced
and bumped their buttocks together.

73. As a direct and proximate result of these Defendants’ wrongful conduct by using
excessive, gratuitous, and unreasonable force against Marty, failing to stop others from using
excessive, gratuitous, and unreasonable force against Marty, and punishing Marty, a pretrial
detainee, Marty’s rights under Fourth and Fourteenth Amendrnents were violated and the
Estate of Ernest Marty Atencio has suffered damages

74. The wrongful conduct of these Defendants was in reckless disregard of Marty’s
constitutional rights and punitive damages in an amount to be determined by a jury should be

awarded to deter and prevent others from acting in a similar manner in the future

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COUNT FOUR
(Dcfendants Hanlon, French, Carrasco, I)cminguez, Foster, Hatton, Kaiser, Scheffner,

Vazquez, Weiers, and Maricopa County and the City Are Liable for the Wrongful Death
of Marty Pnrsuant to A.R.S. § 12-611)

75. Plaintiffs incorporate the allegations in the paragraphs above as if set forth fully
hereiii.

76. Defendants Hanlon, French, Carrasco, Dominguez, Foster, Hatton, Kaiser,
Scheffner, Vazquez, and Weiers had a duty to ensure the safety and well-being of persons in
their care, custody, and control~a duty that includes (without limitation) using only necessary
and reasonable force j

77. Defendants Hanlon, French, Carrasco, Dominguez, Foster, Hatton, Kaiser,
Scheffner, Vazquez, and Wciers breached their duties, despite loiowing or having reason to
know that Marty was or would be inappropriater subjected to an unreasonable risk of serious
harm, injury, and death as a result of their actions andjor inactions, as identified by the
allegations set forth in the paragraphs above

78. Defendants Hanlon, French, Carrasco, Dominguez, Foster, Hatton, Kaiser,
Sclieffner, Vazquez, Weiers, and Maricopa County’s breaches of their duties caused and/or
contributed to cause Marty’s wrongful death.

79. All of the individually named defendants were, at all times material hereto,
acting within the course and scope of their employment and the County and the City are
vicariously liable for their actions

SO. Maricopa County has a duty to supervise all of its employees and agents and a
duty to make ensure that its employees and agents satisfy all federal, state, and applicable
standards The County also has a duty to respond to known problems and/or improper
customs, policies, practices procedures, training, and/or conditions in its jails.

81. Maricopa County breached its duties, as identified by the allegations set forth in

ithe paragraphs above, by (among others and without limitation): failing to supervise its

employees and by ratifying improper conditions customs, policies, procedures and/or
practices

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82. As a result of Defendants Hanlon, French, Carrasco, Dominguez, Fostcr, Hatton,
Kaiser, Scheffner, Vazquez, Weiers, and Maricopa County’s actions and inactions, Marty’s
survivors have been deprived of the continued companionship and society of their son and
fatlier, and have suffered and will continue to suffer in the future a loss of love, affection,
companionship, care, protection, guidance, as well as pain, grief, sorrow, anguish, stress,

shock, and mental suffering, and have suffered damages in an amount to be proven at trial.

COUNT FIVE
(Befendants Hanlon, French, Carrasco, Dominguez, Foster, Hatton, Kaiser, Scheffncr,
Vazquez, and Weiers, Violated Joe, Rosema , Joshua, Joseph, and M.A.’s Rights Under
the Fourteenth Amendment and 42 U.S.C. 1983 to be Free Froni Interference With

Their Right to Family Scciety and Companionship of
Ernest Marty Atencio)

83. Plaintiffs incorporate the allegations in the paragraphs above as if set forth fully
herein.

84. '_[he reckless, intentional and/or deliberate acts and omissions of Defendants
Hanlon, French, Carrasco, Dominguez, Foster, Hatton, Kaiser, Scheft`ner, Vazquez, and
Weiers, set forth above, were the direct and legal cause of the deprivation of Joe, Rosemary,
Joshua, 1 oseph, and M.A.’s constitutionally protected rights under the Fourteenth Amendment
to the care, companionship, and familial society ofMarty, their son and father.

85. As a direct and proximate result of these Defendants’ wrongful conduct, loe,

Rosemary, 1 oshua, Joseph, and M.A. have suffered damages

COUNT SIX

(Defendants McLean and Cranmer Violated Marty’s Rights Under the
Fcurteenth Amendment)

86. Plaintiffs incorporate the allegations iii the paragraphs above as if set forth tully
herein.

87, Nurse McLean and Physician Assistant lan Cranmer evaluated Marty’s wounds
after he was tased by Sgt. Weiers and subjected to the use of excessive, gratuitous and

unreasonable force by the Detention Officers.

 

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88. Rather than recognizing the extreme danger resulting from the beating and the
electrocution, they failed to meet the applicable standard of care, and did nothing to ensure that
Marty received a proper medical evaluation and appropriate medical care n

89. The wrongful conduct of Defendants McLean and Cranmer constitutes violations
of 42 U.S.C. § 1983 in that, with deliberate and callous indifference they deprived Marty of
his Eighth and/or Fourteenth Amendment Rights under the United States Constitution in that
he was denied proper medical treatment while under the care of these Defendants and the

Estate of Ernest Marty Atencio has suffered damages

COUNT SEVEN

(Defendants McLean and Cranmer Are Liable for the Wrongful Deatli of Marty
Pursuant to A.R.S. § 12-611)

90. Plaintiffs 're~allege and incorporate, by this reference, the claims, facts, and
allegations set forth in the paragraphs above, as if set forth fully herein.

91. Defendants McLean and Cranmer had a constitutional, statutory, .and common
law duty to assure the safety and well-being of Marty while in their care and custody-a duty
that includes (without limitation) providing proper, appropriate and timely care and
monitoring Marty after he was tased.

92. These Defendants breached their duties to Marty, as identified by the claims,
facts, and allegations set forth in the paragraphs above

93. As the result of these Defendants’ negligencel Marty’s survivors have been
deprived of the continued companionship and society of their son and father, and have suffered
and will continue to suffer in the future a loss of love, affection, companionship, care,

protection, guidance as well as pain, grief, sorrow, anguish, stress, shock, and mental

 

suffering and have suffered both economic and non-economic damages in an amount to bel

proven at trial.

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COUNT EIGHT
(Defendant_s Maricopa County and Sheriff Arpaio Are Deliberately ludifferent to
the Medlcal Needs of Pr'ctrial Detainees in the Maricopa Coun Jails While

Subjecting them to Conditions Amounting to Punishment in iolation of
the Fourteenth Amendment and 42 U.S.C. § 1983)

94. Plaintiffs incorporate the allegations in the paragraphs above as if set forth fullyl
herein.

95. As the facts set forth above demonstrate, Sheriff Arpaio and Maricopa County
have a policy, practice, or custom of punishing pretrial detainees, subjecting them to the‘
unreasonable and excessive use of force, depriving them of constitutionally required care,
and/or ratifying such constitutional deprivations

96. These policies, practices, or customs were the moving force behind Marty’s
death. In addition to those facts set forth above, this allegation is supported by the following
additional facts:

a. On August 9, 2011, Sheriff Arpaio and Maricopa County filed their
Notice of Filing Seventh Report of Dr. Kathryn A. Bums. That report put Maricopa County On
notice of the fact that although “many advances have been made [in the County’s Mental
Health Unit] serious problems persist.” According to the report, “Chart reviews continued to
illustrate problems with inadequate, incomplete admission assessments.” The report concluded
that, “although some progress has been made and there are plans for continued developmentj
improved access to timely psychiatric hospitalization has not yet occurred.”

b. With respect to the specific treatment of Marty, on May 16, 2012,
Dr. Burns reported to the Court in Graves, “it is apparent that major elements of the medical
and mental health care provided to [Marty] are germane to the requirements of the SA.T
[Second Amended Judgment]. Specifically, these elements include quality and scope of
receiving screening, treatment of mental and physical illness and injury, and ready access to
care for serious medical and mental health needs.”

97. Based on the facts set forth above, Sherit`f Arpaio knew, or reasonably should
have known, that his subordinates were engaging in conduct that Would deprive Marty of his

constitutional rights and he failed to act to prevent these deprivations, which were the moving

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force behind Marty’s death. Sheiiff Arpaio is, therefore, personally liable as a supervisor of
these individuals and punitive damages, in an amount to be determined by a jury, should be
awarded to deter him, and others, from acting in a similar manner in the future Sheriff
Arpaio’s actions also form the basis of municipal liability against the County as he is a final
policymaker for Maricopa County.

98. Additionally, despite the knowledge and notice set forth above, the County was
deliberately and callously indifferent to the constitutional rights of those in their care, custody,
and control and has a custom of turning a blind eye towards its employees who depart from the
County’s policies and procedures and their training and!or ratifies the actions of its employees
who violate the constitutional rights of those in their care, custody, and control.

99. The wrongful conduct of Sheriff Aipaio and the County, as described herei_n,

constitutes violations of 42 U.S.C. § 1983 and as a direct and proximate result of Defendants’

Wrongful conduct, Plaintiffs have suffered damages

JURYTRIAL

100. Plaintiffs hereby request and demand a trial by jury.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for damages for judgment against Defendants as follows:

a) General damages in an amount to be proven at trial, as to the causes of action,
claims, and theories of relief alleged herein;

b) Punitive damages against the individually named Defendants iii an amount
deemed just and reasonable as to the causes of action, claims, and theories of
relief alleged herein;

c) Costs and attorneys’ fees against all Defendants, pursuant to 42 U.S.C. §1988;

d) Such other and further relief which may seem just and reasonable under the

circumstances

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RissPEc'rFULi,v sUBi\/iirrso this 23rd day or ociab@r, 2012.

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Phoeriix, Arizona 35 004~¢45 84
Attorneys for Plaintiffs

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